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                       IN THE UNITED STATES DISTRICT COURT 


                              FOR THE DISTRICT OF DELAWARE 


ERNEST PARSON, et aI., 	                  )
                                          )
              Plaintiffs, 	               )
                                          )
       v. 	                               ) Civ. No. 15-325-SLR
                                          )
DAVID PIERCE, et aI.,                     )
                                          )

              Defendants.                 )


                                      MEMORANDUM
       1. Introduction. Plaintiffs, inmates at the James T. Vaughn Correctional Center

("VCC"), Smyrna, Delaware, filed this lawsuit pursuant to 42 U.S.C. § 1983 and the

Religious Land Use and Institutionalized Persons Act. They proceed pro se and have

paid the filing fee. 1 This case was severed from Civ. No. 12-1120-SLR on April 22,

2015. On July 14, 2016, plaintiffs filed an amended complaint. (D.1. 22) Pending is

plaintiffs' motion to compel. (D.1. 23)

       2. Amended Complaint. Plaintiffs, who are Muslim, raise religious

discrimination claims. On June 20, 2016, the court granted defendants' motion for a

more definite statement and ordered plaintiffs to file an amended complaint that

complied with certain requirements as set forth in the accompanying memorandum.

(See D.1. 20, 21) Having review the amended complaint, the court finds that it

substantially complies with the June 20, 2016 order.

       3. Motion to Compel. Plaintiffs have filed a motion to compel and ask the court

to enter an order compelling non-parties to answer interrogatories. (D.1. 23) Pursuant


      1The court notes that none of the plaintiffs have sought leave to proceed in forma
pauperis.
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to Fed. R. Civ. P. 33, interrogatories are served upon parties. There is no obligation

upon non-parties to answer plaintiffs' interrogatories. Therefore, the court will deny the

motion to compel. Should plaintiffs seek discovery from non-parties, they should refer

to Fed. R. Civ. P. 30 that provides for depositions by oral examination.

       4. Conclusion. For the above reasons, the court: (1) finds plaintiffs' amended

complaint substantially complies with the court's June 20, 2016 order; and (2) will deny

plaintiffs' motion to compel (0.1. 23). A separate order shall issue.




Dated: October,»", 2016                           UNITED STA      S DISTRICT JUDGE




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